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                      EXHIBIT A
           Case: 1:19-cv-06953 Document #: 11-1 Filed: 10/24/19 Page 2 of 3 PageID #:61


Dolan, William F.

From:                          Hoffmann, Mathew W.
Sent:                          Friday, October 11, 2019 10:32 AM
To:                            Stephen Klein
Cc:                            Hazzard, Michael B.; Rossum, Ann T.; Thakur, Jenice; Edmonds, Kim N.; Steven
                               Woodrow; Taylor Smith; aaron@aftergoodesq.com; Patrick Peluso
Subject:                       RE: Wigod v. CallFire, Case No. 2:19-cv-02874-SVW-MAA - Mediation


Stephen,

Thank you for scheduling the mediation on October 30 with Judge Anderson.

CallFire intends to take the deposition of Ms. Lori Wigod. We propose to hold a meet and confer regarding your
proposed motion to quash on Tuesday, October 15 at 2 PM Eastern.

In response to your L.R. 37-1 letter of October 9, we propose to hold a meet and confer on Thursday, October 17
at 2 PM Eastern.

Regards,

Mathew

Mathew W. Hoffmann
Associate
JONES DAY® - One Firm Worldwide℠
51 Louisiana Avenue NW
Washington, D.C. 20001
Office +1.202.879.3447

From: Stephen Klein <sklein@woodrowpeluso.com>
Sent: Thursday, October 10, 2019 5:53 PM
To: Hazzard, Michael B. <mhazzard@jonesday.com>
Cc: Hoffmann, Mathew W. <mhoffmann@jonesday.com>; Rossum, Ann T. <atrossum@jonesday.com>; Thakur, Jenice
<jthakur@jonesday.com>; Edmonds, Kim N. <knedmonds@JonesDay.com>; Steven Woodrow
<swoodrow@woodrowpeluso.com>; Taylor Smith <tsmith@woodrowpeluso.com>; aaron@aftergoodesq.com; Patrick
Peluso <ppeluso@woodrowpeluso.com>
Subject: Re: Wigod v. CallFire, Case No. 2:19‐cv‐02874‐SVW‐MAA ‐ Mediation

Hi Mike,

We agree to hold the mediation with Judge Anderson on 10/30. I will reach out to Judge Anderson's office to
reserve that date.

We also agree to hold Lee Wigod's deposition on 10/29, but we do not agree to the deposition of Lori Wigod on
10/28. We are generally opposed to any deposition of Lori Wigod, as she does not possess any knowledge
relevant to this case. If you are insistent on pursuing a deposition, we intend to file a motion to quash any
subpoena to that effect. Before we do, please let us know when you can meet and confer. As our deadline to
move to quash is rather short, please advise ASAP.



                                                        1
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Best regards,
Stephen

On Wed, Oct 9, 2019 at 2:39 PM Hazzard, Michael B. <mhazzard@jonesday.com> wrote:

Thank you, Stephen.



Would the following work for you:



10/28, Lori Wigod deposition

10/29, Lee Wigod deposition

10/30, Mediation with Judge Anderson



Sincerely,



Mike



From: Stephen Klein <sklein@woodrowpeluso.com>
Sent: Wednesday, October 9, 2019 4:19 PM
To: Hazzard, Michael B. <mhazzard@jonesday.com>
Cc: Hoffmann, Mathew W. <mhoffmann@jonesday.com>; Rossum, Ann T. <atrossum@jonesday.com>; Thakur, Jenice
<jthakur@jonesday.com>; Edmonds, Kim N. <knedmonds@JonesDay.com>; Steven Woodrow
<swoodrow@woodrowpeluso.com>; Taylor Smith <tsmith@woodrowpeluso.com>; aaron@aftergoodesq.com
Subject: Re: Wigod v. CallFire, Case No. 2:19‐cv‐02874‐SVW‐MAA ‐ Mediation




Hi Mike,



I've reached out to the mediators to check for availability; please see the email below. It looks like Judge
Anderson is available on 10/30 and 10/31, but we have a conflict on 10/31. Would you be open to holding the
deposition on the 10/29 and holding the mediation the following day, 10/30?



Let us know your thoughts.

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